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                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS

  In re:
  MEGHAN J. DEPIN,                               Ch. 13
    Debtor                                       19-11103-FJB

  BEACON ABA SERVICES, INC.,                     Adversary Proceeding
    Plaintiff,                                   19-01070-FJB
  v.
  MEGHAN J. DEPIN,
    Defendant


                                              Order

MATTER:
[#17] Agreement for Judgment

JUDGMENT: This adversary proceeding having come before the Court on the parties' agreement
for entry of judgment, now, in accordance therewith, the Court hereby ORDERS and ADJUDGES
(i) that the plaintiff, Beacon ABA Services, Inc., recover of the defendant and debtor, Meghan J.
Depin, the sum of Seven Thousand Four Hundred and Sixty Dollars 00/100 ($7,460.00), plus
interest thereon from the date of this judgment at the rate of 1.73 percent per annum, and
(ii) that this judgment debt is and shall be excepted from discharge.

                                                 By the Court,




                                                 Frank J. Bailey
                                                 United States Bankruptcy Judge

                                                 Dated: 10/3/2019
